Case 2:18-cV-00696-.]CI\/|-GWF Document 1-1 Filed 04/17/18 Page 1 of 19

§§%5§§§~§§@§§§&§»§¢§ a§§:“§ B§NB*QK
§)€MZ§Y§§T §3§§§`§§§ §Y‘*£§/

 

\ EXH|B|T A , l

HUTCHISGN S TEFFEN

A PROFESSIONAL. L.L.C

 

 

Case 2:18-cV-00696-.]Ci\/|-GWF Document 1-1 Filed 04/17/18 Page 2 of 19

   

csc

null / ALL
. . T `tt lN b l 17937001
Notlce of Servlce of Process raS§{§'P?oce`;';`e§=ros/zs/zo1s

 

Primary Contact: Legal Department
American Fami|y |\/lutuai insurance
6000 American Pkwy
Madison, Wi 53783

 

Entity: American Famiiy |\/lutuai insurance Company
Entity lD Number 3195323

Entity Served: American Fami|y Mutuai insurance Company, S.|.

Title of Action; Ho|iy |\/larsi|| vs. American Family |\/lutua| insurance Company, S.l.

Document(s) Type: Summons/Comp|aint

Nature of Action: Contract

Court/Agency: Clark County District Court, Nevada

CaselReference No: A-18~771171-C

Jurisdiction Served: Nevada

Date Served on CSC: 03/22/2018

Answer or Appearance Due: 20 Days

Originally Served On: CSC

How Served: Cer'tified |V|ai|

Sender lnformation: |\/lark G. Henness

702-862-8200

 

information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). lt does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

To avoid potential delay, please do not send your response to CSC
251 Little Falls Drive, Wiimington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com

Case 2:18-cV-00696-.]Ci\/|-GWF Document 1-1 Filed 04/17/18 Page 3 of 19

JzR'iAN sANDOVAL STATB OF NEVADA c.J. MAN'IHE

Goveraor Dirc'ctor `

BARBARA D. 'RICHARDSON

Commissioncr

 

DEPARTMENT OF BUSINESS AND lNDUSTRY
DIVISION OF INSURANCE
3300 West Sahara Avenue, Sllite 275
Las Vegas, chada 89102»3200
(702) 4864009 " Fax (702) 4864007
chsite doi nv gov '
E mail: insinfo@doi. nv gov

March 21, 2018

Arnerican Family Mutual Insurance Cornpany, S.I.

c/o CSC Services of Nevada, Inc.

2215B Renaissance Dr.

Las Vegas, NV 89119-6727

RE'. Holly Marsili, et ai. vs. Arnerican Farnily Mutual Insurance Cornpany, S.I., et al.
District Court, Clark County, Nevada
Case No. A-18-77l l71-C

Dear Sir or Madam:

Enclosed please find the following documents: Summons and Amended Complaint.
These documents have been served upon the Cornmissioner of lnsurance as your attorney for
service of process on March 20, 2018.

The appropriate action should be taken immediately, as you may only have 30 days from
the date of‘ this service to respond.

If you have any questions regarding this service7 please advise.
Sincerely,

BARBARA D. RICHARDSON
Commissioner of Insurance

By: M$/)MMQ

RHONDA KELLY
Service of Process Clerk

Enclosures

c: Jacob S. Srnith, Esq.

 

 

Case 2:18-cV-00696-.]Ci\/|-GWF Document 1-1 Filed 04/17/18 Page 4 of 19

23

24

25

26

27

28

 

 

PROOF OF SERVICE
l hereby declare that on this day I served a copy of the Surnmons and Amended
Complaint upon the following defendant in the Within matter, by shipping a copy thereof, via
Certified mail, return receipt requested, to the following:

American Family Mutual lnsurance Cornpany, S.I.
c/o CSC Services of Nevada, lnc.

2215B Renaissance Dr.

Las Vegas, NV 891 19-6727

CERTIFIED MAIL NO. 7016 3010 0000 0486 3302

I declare, under penalty of perjury, that the foregoing is true and correct.

DATED this 213[ day Of March, 2018.

MMQM{

RHONDA KELLY v U

Employee of the State of Nevacla
Departrnent ofBusineSs_ and Industry
Division of Insurance

RE: Holiy Marsili, et al. vs. American Family Mutual lnsurance Company, S.I., el al.
District Court, Clark County, Nevada
Case No. A~18-77i i7l.-C

_ j w Staie. of Nevarit`-, D\`\'irtzw w !.-~¢t-~.~n~ca
‘} lTl’)is document on whlGli iiii§ certificate
‘ rs stamped is a'full, tru€ end correct
copy of the original.

Date: 5_19"} )Y By: MUZZQ

 
  
 

 

 

Case 2:18-cV-00696-.]Ci\/|-GWF Document 1-1 Fi'|ed 04/17/18 Page 5 of 19

l B R`lAN SANDOVAL STATE OF NEVADA ` C.j. MANTHE

Gz>v¢~rnor I)irector

BARBARA D. R[CHARDSON

C¢)mmr'ssl'oncr

 

DEPARTMENT OF BUSlNESS AND INDUSTRY
DlVl.SlON OF INSURANCE
3300 `\X/esr Sahara A\'emic, Suitc 275
Las Vegas, Ne\~'ada 89102»3200
(702) 486»4009 ° Fax (702) 486-4007
Wel)sire: doi.n\~'.go\"
E»mail: iiisiiifo@doi._il\’.go\'

March 21, 2018

Jacob S. Smith, Esq.
HENNESS & HAIGHT
8972 Spanish Ridge Ave.
Las Vegas, NV 89148

RE: Holiy Marsiii,'et ai. vs. American Farniiy Mutuai lnsurance Cornpany, S.I., et ai.
District Court, Clark County, Nevada
Case No. A~18-77l l7l-C

Dear l\/lr. Smith;

The Division received the service of process documents on l\/Iarch 20, 2018, regarding
the above-entitled matter. Service has been completed on American Farniiy l\/Iutuai Insurance
COmpany, S.l. this date and enclosed are the following:

l. A copy of our letter to AmericanFamily Mutual Insurance Company, S.I. dated _
March 21,2018; 1

2. A certified copy of the Proof of Service dated March 21 , .2018', and

3. Your receipt in the amount of $30.00.

' Pursuant to Nevada Revised Stalutes (NRS) 680A.260, 685A.200, and 685B.050, all
documents after initial service of process may be served directly to the party.

lf you have any questions regarding this service, please so advise '
Sincereiy,

BARBARA D. RICHARDSON
C'ommissioner of lnsurance

By; M@/&
§

RHONDA KELLY
Service of Process Clerk
Enclosures

c: American Family Mutual Insurance Company, S.I.

 

Case 2:18-cV-00696-.]Ci\/|-GWF Document 1-1 Filed 04/17/18 Page 6 of 19

Elect_ronically issued

3/19'/20133081=1\/1 13 E@Ellwl§ ®
limit 20 2313

 

 

 

 

DISTRICT cofURT

 

 

 

 

._,, ,. .. D1vis1 - 1
cLARK coUNTY, NEVAI)A STETt%%'t‘§?§D`;“CE
EMANUEL lndtvldually, vi ` ) CaseNo.: A_13-771171-C
ijept. No.:

.,P:iafintiffs;,;

XXl|

  
  

 

§DM_M_QN§
licensed to do business ' ' k
thlough X DOE EMPL' “. ~
XX and R©.E CORPO… TIONS XXI
through XXX, _tnclus_i_ve,

D:éfendants.

 

 

NOTICE! 'YO;U; HAVEBEE
~UN;I§_,ESS"Y:OU RES,BO_ -

 
   

v DECIDE A_GAlNST YOU WITHOUT YOUR BEING HEA"RD
.D T ,E lNFORMATION BELO_W.

'FO`THE-`D':EEEN§DANT£ AIC-i.vii» C"?'ornpiaintfha‘s”be'enfiled bylthe'piaintift`(s) against you for the relief set forth in the:Compia`int.

AMzenrcaN;sarvni;vivtnmélz»iN`S.fuixANeetco'Miz-AN¥,‘s~.t

_i ltj yout.in`tend t`o defend this lawsuit,_ within 30 days after this Summons ls served on you exclusive of the date of`
service, y`ou nuist do the foilowing: .
a. AFiie with the Cier‘.`i& o`t"this Court, whose address is shown bei'ow, a formal written response to the
.Com_plaint m accordance with the rules of the Court
b, Serv_e a copy of your response upon the attorney whose name and address 1s shown below

23 `U`nies`s y`_`ou respond your default will be entered upon application ofthc piaintitf(`s) and this Coun' may
enter 'a judgment`j‘ aga §'ou;~fd_r the rehef demanded m the Gomplaint, which could result m the taking ot" money or prope‘xty
o`r'other relief requested.tn the Complaint

.,

s. if you intend to seek the advice of nn attomey in this matter you should do so promptly so that your
response may be filed o'n time.

 

issued at the direction oft

   

HENNESS & 4b ,

 

 

cLERr< FMRTA 6 § .. _

33 jj‘* * \»l“/" 3/19/2018
.By‘ ~ , ` ’

, DeputyCierk

County Courtliouse 5 . _ ' c
200 Lewis Avenue Jud't Angyalne K|S"'

jLas Vegas, NV 8910|

A llorncy for Plainti`ff

Case Number: A-_18-771171-C

 

 

Case 2:18-cV-00696-.]CI\/|-GWF Document 1-1 Filed 04/17/18 Page 7 of 19

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

" 1 ' 1511 ‘11F'1d
131 le © le 111 is @ 3,1;,;31';;01111

Steven D. Grierson

HAR 20 nn/i l CLERE OF THECOU§B`

.-___.._--._....._.-.1.1
o1vis1oN 01= issue/mcs
srArE or_§§yno¢_\

    

ACOM

JACOB S, SMITH, ESQ`
Nevada Bar No. 10231
HENNSS & HAIGHT

8972 Spanish Ridge Avenue
Las Vegas, Nevada 89148
(702) 862-8200
jake@hennessandhaight.com_

 

q-_.,.».,

Att`orneysj?)r Plaintij
DISTRI`CT COURT
CLARK COUNTY, NEVADA
HOLLY MARSILI, individualiy; CRISTALLE _
EMANUEL, individually, Case No.: A-18~77ll7l-C
Dept. No.: 22
Pl‘aintiffs,
vs.

AMERICAN `FAMILY MUTUAL
INSURANCE COMPANY, Sl., an entity
licensed to do business in Nevada; DOES I
through X; DOE EMPLOYEES Xl through
XX, and ROE CORPORA'HONS, XXI
through XXX-, inclusive,

Defendants.

 

 

AMENDED C MPLAINT
COMES NOW, Plaintiffs, HOLLY MARSILI and CRISTALLE EMANUEL, by and

through their attorney, JACOB S. SMITH, ESQ., of the law firm of HENNESS & HAIGHT, and
for their causes of action against Defendants, and each of them, allege as follows:

l. That at all times relevant hereto, Plaintiffs, HOLLY MARSILI and CRISTALLE
EMANUEL (“Plaintiffs”), were residents of the County of Clark, State of Nevada.

2. That all of the material facts and circumstances that give rise to the subject lawsuit

occurred in the County of Clark, State ofNevada.

Case Number: A-18-771171-C

 

 

Case 2:18-cV-00696-.]CI\/|-GWF Document 1-1 Filed 04/17/18 Page 8 of 19

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

3. That at all times relevant hereto, Defendant, AMERICAN FAMILY MUTUAL
INSURANCE COMPANY`, S.I., was and is a duly licensed business entity authorized to C_O`n`ducf
business in. Nevada as an insurance company and conducting said business in Nevada, including
offering for sale insurance products, such as the policies of insurance sold to PlaintiH`s, for the
benefit ofPlaintiffs, and each of them, as more fully set forth below.

4. Plaintiffs’ Complaint states a controversy over which this Honorable Court has
j.l.lf‘l"$diction and venue is properly in this Court as`Plai`nn'ffs are residents of'Clark~ County, Nevada;'
Defendant does business within Clark County, Nevada; the relevant policy of insurance was
underwritten and covered Plaintiffs for their use of their motor Vehicle in Clark County, Nevada;
the relevant policy of insurance was written to insure, inter alia, against'loss to Plaintiffs in Clark
County, Nevada; the loss, injuries and damages incurred by Plaintiffs that underlie the claim
against Defend`ants occurred while Plaintiffs were in Clai'k' County, Nevada; and benefits due from
the.policy of insurance and damages claimed by Plaintiffs were due and payable in Clark. County,
Nevada.

5. Pursuant to NRCP 10(a) and Nurenberger Hercules~Wérke. GMBH v. Virostek, 107
Nev. 873, 822 P.Zd 1100 (1991), the true names and capacities, whether vindividual, corporate,
associate or otherwise of Defendants named herein as DOE EM_PLOYEES I through X and DOES
XI through XX, and .ROE CORPORATIONS XXI through XXX, are unknown to Plaintiff, who,
therefore, sue said Defendants by said fictitious names. Upon information and ‘belief, these DOE
and ROE Defendants, and each of them, are responsible in some manner for the events and
happenings upon which this action is premised, or of similar actions directed against Plaintiff about
which Plaintiff is presently unaware, and which directly and proximately caused injury and

damages to Plaintiff as herein alleged. DOE and ROE Defendants include, but are not limited to

 

Case 2:18-cV-00696-.]CI\/|-GWF Document 1-1 Filed 04/17/18 Page 9 of 19

19
ii
12
13
14
15
16
17
' 18
19
120
21
22
23
24
25
26
27

28

 

 

employees, independent contractors, subcontractors, suppliers, agents, brokers, adjusters and/or
volunteers PIaintifi`s will ale leave of this C‘ourt to amend their Complaint to insert the true names
and capacities of, DoE EMPLoYEEs i through X, DOES Xi through XX, and RoE ENririEs
XXI through XXX, when the same have been ascertained and to join such Defendants in this
action~.

6. "Upon information and belief, at all times mentioned herein, each Defendant was
acting as the agent, servant, alter ego; and/or.ernployee of each other Defendant.

7. That hereinafter references to “Defendant” include collective reference to all l
named Defendants, and all DOE and ROE Defendants who might have performed Or failed to l
perform the same actions hereinafter alleged committed by the named Defendants.

8. That`Dcfendants, and each of them, include the subsid`iaries, parent companies,
successors and predecessors in `inte.rest, assignees, alter .egos, or otherwise, and are liable for the
liabilities of 'Defendants, and each of them. At all times mentioned herein, each Defend_ant was
acting as theagent, servant, and/or employee of each other Defendant,

FACTS OF THE DISPUTE

9. Plaintiffs repeat and re allege each and every allegation contained in Paragraphs
1 through 8 above and incorporates the same by reference as though the same were fully set
forth herein.

10. That prior to July 16, 2011, in Clark County, Nevada, Plaintiff HOLLY
MARSILI entered into an insurance contract with Defendant, AMERICAN FAMILY
MUTUAL INSURANCE COMPANY, bearing policy number 1075~0274-01~5l-FPPA-NV,
whereby Defendant, A'MERICAN FAMILY MUTUAL INSURANCE COMPANY agreed to

provide Plaintiffs with, among other coverages, $100,000 per person / $300,000 per accident in

 

Case 2:18-cV-00696-.]CI\/|-GWF Document 1-1 Filed 04/17/18 lF’age 10 of 19

1"0
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

Underinsured Motorist Protection benefits; and in reliance upon Defendant’s representations,
Plaintiff HOLLY MARSILI purchased said underinsured motorist policy from Defendant, and
that on July 16, 2011, said coverage was in force.

11. That prior to July 16, 2011, in Clark County, Nevada, Plaintiff CRISTALLE
EMANUEL entered into an insurance contract with Defendant, AMERICAN FAMILY
MUTUAL INSURANCE' COMPANY, S.I., bearing policy number 1852-211,1-'01-48~FPPA-
NV, whereby :Defendant,, AMERICAN FAMILY MUTUAL INSURANCE COMPANY, S.I.
agreed to provide Plaintiffs with, among other coverages,_ .$100,000 per person / $300,000 per
accident in Underinsured Motorist Protection benefits; and in reliance upon Defendant.’s

representations, Plaintiff CRISTALLE EMANUEL purchased said underinsured motorist policy

r'from Defendant, and that on July 16, 2011, said coverage was in f`orce.v

12. That prior to July 16, 2011., in Clark County, Nevada, Plaintiff HOLLY
MARSILI further entered into an insurance contract with Defendant, AMERlCA]\i FAMILY
‘MUTUAL INSURANCE COMPANY, S.I., bearing policy number 27~U01'238-01, whereby
Defendant, AMERICAN FAMILY MUTUAL INSURANCE COMPANY, S.I. agreed to
provide Plaintiffs with, $300,000 per occurrence in Personal Liability Insurance under an
umbrella policy, with the Endorsement 601 for Uninsured/Underinsured Motorist coverage; and
in reliance upon Defendant’s representations, Plaintiff` HOLLY MARSILI purchased said
umbrella policy from Defendant, and that on July 16, 201 l, said coverage was in force.

13. As policy holders of AMER_ICAN FAMILY MUTUAL l'NSURANCE

COMPANY, S.I., Plaintiffs were insured within Nevada Revised Statutes §6‘86a.3 10, inter alia.

 

Case 2:18-cV-00696-.JC|\/|-GWF Document 1-1 Filed 04/17/18 Page 11 of 19

v 10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

14. That on July 16v, 2011, .Plaintiffs Were involved in a serious motor vehicle
collision as the sole result of the negligence of non-party tortfeasor, Richard.i. Donaldson, an
underinsured motorist as per the definition of such in said insurance contract

15. As a direct and proximate result of said collision, Plaintiffs suffered serious and
pennanent~injuries. y

16 . At the time of the subject,collision, non~party tortfeasor, the vehicle being driven
by Ric-hard J. Donaldson carried automobile liability insurance limits of $100,000 per person./ .
$300,'000 per accident

' 17. As a further direct and proximate result of said collision, Pl`aintiffs incurred
expenses for medical care and treatment

18.` At the time of the subject col»lision, Plaintiffs were insured by Defendant,
AMERICAN FAMILY MUTUAL INSURANCE COMPANY, S.l. sued herein, according to
the above-described contracts, and other policies issued by DOE _EMPLOYEES#I through X,
DOES XI through XX, and ROE ENT'ITIES XXI through XXX, which provided Plaintit`fs
various forms of motor vehicle coverage, including benefits for compensation resulting from
injuries and damages caused by underinsured motorists

1*9. ` That on or about September 7, 2016, non~party tortfeasor, Richard J.
Donaldson’s motor-vehicle liability insurer, State Farm, tendered to Plaintiffs the full amount of
the available policy limits of his motor~vehicle liability insurance, but this amount was
insufficient to fully compensate Plaintiffs for the harms and losses they suffered in said motor-
vehicle collision.

20. That by contract, Defendant, AMERICAN FAMILY MUTUAL INSURANCE

COMPANY, S.I., is obligated to fully compensate Plaintiffs for the harms and losses they

 

 

Case 2:18-cV-00696-.]CI\/|-GWF Document 1-1 Filed 04/17/18 Page 12 of 19

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

sustained in the subject motor vehicle collision, up to the limits of their coverage as noted in

Paragraphs 10 through 1'2.

21. Following the collisi'on, Plaintiffs timely presented Defendant, AMERICAN
FAMILY MUTUAL INSURANCE COMPANY, S.I., with all of their collision-related medical
records and bills and made a request for contractual underinsured motorist policy benefits from
Defendant, AMERICAN FAMILY MUTUAL INSURAN.CE COMPANY, S;I...

22. When Defendant, AMERICAN FAMILY MUTUAL I.NSURANCE
COMPANY, S.I. evaluated Plaintiff, HOLLY MARSILI’S claim, it failed to make any offer
within a reasonable't`ime, effectively denying her claim.

23. When Defendant, AMERICAN FAMILY MUTUAL lNSURANCE
COMPANY, S.i. evaluated Plaintiff, CRlSTALLE EMANUEL’S claim, it failed to make an
offer within a reasonable time, effectively denying her claim_.

24. That Defendant, AMERICAN FAMILY MUTUAL INSURANCE COMPANY,
S.I., chose to retain doctors to review the medical records of Plaintiff(s) and/or perform medical
examinations of Plaintiff(s), which doctor(s) Defendant had reason to believe would provide
certain medical opinions which would support Defendant’s pre-determinations as to Plaintiffs’
claims.

25. That Defendant, AMERICAN FAMILY 'MUTUAL INSURANCE COMPANY,
S.I. is still denying this claim and now has indicated that they Would be willing to submit this
matter to arbitration with a cap of the $]O0,000 policy limits

26. That Defendant, AMERICAN FAMILY MUTUAL INSURANCE COMPANY,
S.I., owed and still owes to Plaintiffs the highest of duties in considering their claims for

underinsured motorist benefits as well as benefits afforded under the Plaintif`fs’ personal

 

 

Case 2:18-cV-00696-.]CI\/|-GWF Document 1-1 Filed 04/17/18 Page 13 of 19

10

11

12

13,

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

liability umbrella policy, which claims Plaintiffs incurred as a result of disabling personal
injuries,. which they sustained as a result of a car colli's~ion, as set forth herein. Defendant,
AMERICAN FAMILY MUTUA_L INSURANCE COMPANY, S.I., Was and is obligated under
the policies issued to Plaintiffs and by'Neva,da_ law to give at least equal consideration to
Plaintiffs’ interests as to its own interests

27. That. as a result cf Defendant, AMERICAN FAMILY MUTUAL INSURANCE'
COMPANY, S.I.’s limited, Self-serving investigation and other conduct, Defendant is in breach
of the insurance contracts between the parties and said breach has resulted in damages incurred
by Plaintiff in excess of FIFTEEN THOUSAND DOLLARS (315,000.00) in an amount to 'be
determined at trial.

28. That as of the date of filing, HOLLY MARSILI and CRISTALLE EMANUEL

had incurred medical expenses amounting to approximately $94,077.32 and $84,'321.56

respectively
FIRST CLAIM FOR RELIEF
(Breach of Covenant of Good Faith/Insurance Bad Faith)
29. Plaintiffs repeat and reallege each and every allegation contained in Paragraphs 1

through 28 above and incorporate the same by reference as though fully set forth herein.

30. That Defendant, AMERICAN FAMILY MUTUAL INSURANCE COMPANY,
S.I,., breached the inherent duty of good faith and fair dealing owed to Plaintiffs when it chose
not to evaluate Plaintiffs’ claims reasonably and in good faith.

31. That Defendant, AMERICAN FAMILY MUTUAL INSURANCE COMPANY,
S.I., and/or its agents, also breached the duty known as the “special relation duty” owed by

insurer to its insured constituting the tort of insurance bad faith, when it chose n___ot to reasonably,

 

Case 2:18-cV-00696-.]CI\/|-GWF Document 1-1 Filed 04/17/18 Page 14 of 19

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

properly, fairly, and timely evaluate and tender reasonable underinsured motorist policy benefits
owed to Plaintiffs, as provided for by the policies of insurance

32. That as a proximate result of the unreasonable and wrongful conduct of

Defendant, AMERICAN FAMILY MUTUAL INSURANCE COMPANY, S.I., and each of

them, Plai_ntiffs have suffered financial damages, anxiety, worry, mental and emotional distress
and other incidental damages all to Plainti'ffs’ general damage in an amount in excess of
FIFTEEN THOUSAND~ DOLLARS ($,15,000;00).

33. Defendant, AMERICAN FAMILY MUTUAL INSURANCE COMPANY, S.I.’s
conduct described herein was intended to cause injury to Plainti`ffs, and was despicable conduct
carried on by Defendant, AMERICAN FAMILY MUTUAL `INSURANCE COMPANY, S.I.';
was done with a willful and conscious disregard of Plaintiffs’ rights, subjecting Piaintiffs to
cruel and unjust hardship; and was an intentional misrepresentation, deceit, or concealment of
material facts known to Defendant with the intention, implied or in fact, to deprive Plaintiffs of
property, legal rights, or to otherwise oppress and/or cause injury, such as to constitute mali'ce,
oppression, or fraud within Nevada Revised Statutes 42.005, entitling Pla_intiffs to punitive

and/or exemplary damages in an amount sufficient to punish or set an example of Defendant,

AMERICAN FAMILY MUTUAL INSURANCE COMPANY, S.I..
SECOND CLAIM FOR RELIEF
(Violation of `Unfair Clairn Practices Act)
34. Plaintif`fs repeat and reallege each and every allegation contained in Paragraphs 1

through 33 above and incorporate the same by reference as though fully set forth herein.

 

 

Case 2:18-cV-00696-.]CI\/|-GWF Document 1-1 Filed 04/17/18 Page 15 of 19

_10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

35 Defendant, AMER`ICAN FAMILY MUTUAL INSURANCE COMPANY, S.I.,
is a member of the class of entities intended to be regulated by Nevada Revised Statutes
68 6A.3 l 0, et seq.

36. Plaintiffs are a member of the class of persons sought to be. protected by Nevada
Revised Statutes 68 6A.3 10, et seq

37. By the aforesaid lacts and omissions, Defendant, AMERICAN FAMILY
MUTUAL INSURANCE COMPANY, S'.I. has violated its statutory duties contained within
Nevada Revised Statutes 686A.3 l.O, et seq. by, among other things:

a. Misrepresenting to Plaintiffs pertinent facts or insurance policy
provisions relating to the coverage at issue:

b. Choosing not to acknowledge and/or act promptly upon communications
with respect to claims arising under the Policy;

c. Choosing not to adopt and implement reasonable standards for the
prompt investigation and processing of claims arising under insurance policies;

d.. Choosi_ng not to affirm or deny coverage of claims within a reasonable

` time after proof of loss requirements have been completed and submitted by the insured:

e. Choosing not to effectuate prompt, fair and equitable settlements of
claims in which liability of the insurer has become reasonably clear, v

f. Compelling Insureds to litigate to recover benefits due under Policies;

g. Choosing not to provide promptly to an insured a reasonable explanation
of the basis in the insurance policy, with respect to the facts of the insureds’ claims and
the applicable Nevada law, for the denial of the claim or for a reasonable offer to settle

or compromise the claim; and

 

 

Case 2:18-cV-00696-.]CI\/|-GWF Document 1-1 Filed 04/17/18 Page 16 of 19

10

11

12

'13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

h. Choosing to retain doctors through a third party service to review Plaintiffs’
medical records and/or perform medical examinations while having reason to believe
that the chosen doctors would not be objective in their opinions;

38. Defendant, AMERICAN FAMILY MUTUAL INSURANCE COMPANY, S.I.’s q
conduct described herein was intended to cause injury to Plaintiffs, and was despicable conduct
carried on by Defendant,_ AMERICAN FAMlLY MUTUAL INSURANCE COMPANY, S.I.,
with a willful and conscious disregard of Pla_intiffs’ rights, subjecting i’laintiff_s to cruel and
unjust hardship in conscious disregard of Plaintiffs-’ rights and was an intentional
misrepresentation, deceit, or concealment of material facts known to Defendant with the
intention implied or in fact:, to deprive Plaintiffs of property, legal rights, or to otherwise
oppress and/or cause injury, such as to constitute malice, oppression, or fraud within Nevada
Revised Statutes 42.005, entitling Plaintiffs to punitive and/or exemplary damages in an amount
sufficient to punish or set an example of Defendant, AMERICAN FAMILY MUTUAL
lNSURANCE COMPANY, S.I..

THIRD CLAIM FOR RELIEF
(Breach of Contract)

39. Plaintiffs repeat and reallege each and every allegation contained in Paragraphs l
through 38 above and incorporate the same by reference as though fully set forth herein,

40. At all relevant times, Plaintiffs paid all premiums due and fulfilled all contractual
duties and obligations required of them within the respective policies. Plaintiffs were insureds

within the respective policies Plaintiffs did nothing to disqualify themselves for coverage

within the respective policies.

_10-

 

 

Case 2:18-cV-00696-.]CI\/|-GWF Document 1-1 Filed 04/17/18 Page 17 of 19

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

41, De,spite the respective policies being in full force and effect at the time of the
subject collision on July'16, 2011, Defendant, AMERCIAN FAMILY MUTUAL INSURANCE
COMPANY, S.I., failed to adequately investigate Plaintiffs’ claims and now refuses to pay
benefits owed to Plaintif`fs. j

42. As a direct and proximate result of Defendant, AMERCIAN FAMILY
MUTUAL INSURANCE COMPANY, S.I.’S conduct and material breach cf the respective
policies, Plaintiffs were compelled to retain counsel to file this Complaint to obtain the benefits
of the contracts negotiated by the parties within ’~the respective policies and specifically for the
benefits long overdue to Plaintiffs.

43. Defendant, AMERCIAN FAMILY M.UTUAL INSURANCE COMPANY, S.I., _
is liable to Plaintiffs for the attorneys’ fees and costs incurred by 'Plaintiffs in bringing this

Complaint to enforce the terms of the Policy.
///
///
///
///
///
///
///
///
///
///

///

_1|-

 

Case 2:18-cV-00696-.]CI\/|-GWF Document 1-1 Filed 04/17/18 Page 18 of 19

10

11

12

1’3

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

///

///

follows:

 

 

l.

WHEREFORE, Plaintiffs pray for judgment against Defendants, and each of them as

For contractual damages up to the amount of the underinsured motorist policy

limits applicable to Plaintiffs;

2. For contractual damages up to the amount of the personal liability umbrella
policy limits applicable to Pl'aiu`tiffs;

3- For general damages in an amount in excess of FIFTEEN THOUSAND l
DOLLARS ($15,000.00);

4. For medical and incidental expenses incurred and to be incurred resulting from
the subject collision caused by the underinsured driver;

51 For exemplary and punitive damages in an amount sufficient to punish or make
an example of Defendant, AMERICAN FAMILY MUTUAL INSURANCE
COMPANY, S.I.; and

6. F or such other and further relief`as the Court deems is just and proper.

DATED this day of March, 2018.

   

HENN

d ' .
evad ‘ .
ACO .
va ‘
89 Spanish Ridge Avenue

Las Vegas, Nevada 89148
Attorneys for Plaintij'

 

-]2-

 

 

__§_.~.____§:_.¢_§1:..=__:.£§._11._§.._

 

 

men "1-1 Filed 04/17/18 Page 19 of 19

wmw©.m». _.mm >Z m<Om_> m<i_
mo wOZ<ww~<Zwm mm_.NN
OZ_ <O<>wz LO wwO_>N._mw OwO

  

 

 

 

mmmm mmrm nunn _H_._H_m J._H_w

Nonmm mum>wz .mmwo> mm._
fw crow .e:cw>< mcmann .>> comm
muz<zbmz_ mo ZO_m_>_Q
_

1 <n<>wz no E<._.m
4 mgm

 
 

